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   GABRIEL GONZALES
 6

 7                               UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA

 9 UNITED STATES OF AMERICA,                          Case No. CR 21-0122 JSW [DMR]
10                 Plaintiff,
                                                      GABRIEL GONZALES’ EX PARTE
11         v.                                         APPLICATION FOR ORDER
                                                      MODIFYING CONDITIONS; [Proposed]
12 GABRIEL GONZALES,                                  ORDER

13                 Defendant.
14

15         I, Ashley Riser, declare:
16   1. I represent Defendant Gabriel Gonzales in the above-entitled matter. He is currently released
17      on an unsecured $75,000 bond with travel restricted to the Northern and Eastern District of
18      California. On June 22, 2021, Mr. Gonzales pled guilty to a single count of Drug Possession
19      with Intent to Distribute. The Honorable Judge Jeffrey S. White referred Mr. Gonzales to an
20      assessment to determine his eligibility for the Alternative to Incarceration Program and set a
21      status conference for August 24, 2021. The purpose of this request is to respectfully ask the
22      Court to modify the “no contact” provision of Mr. Gonzales’ pretrial release to allow for
23      “peaceful” contact.
24   2. On May 15, 2020, the Honorable Magistrate Judge Donna M. Ryu ordered Mr. Gonzales
25      released with conditions. ECF No. 12. The release order included multiple conditions, and
26      Mr. Gonzales “was ordered to have ‘no contact whatsoever’ with his wife ‘unless legally
27      required.’” ECF No. 10. Since May 15, 2020, Mr. Gonzales has abided by the “no contact”
28                                                                      Case No. CR 21-0122 JSW [DMR]
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 1      condition.

 2   3. Mr. Gonzales’ Pretrial Officer, Kalisi Kupu, spoke with Mr. Gonzales’ wife regarding the

 3      modification of the no contact order. Mr. Gonzales’ wife stated that she wanted to have

 4      contact with Mr. Gonzales. Further, Officer Kupu asked Mr. Gonzales’ wife if she would

 5      report any violations of the modified order. Mr. Gonzales’ wife stated that she would report

 6      any violations of the order.

 7   4. Defense counsel respectfully requests that the “no contact” order is modified to read: “Mr.

 8      Gonzales is permitted to have peaceful contact with his wife and his children. Mr. Gonzales

 9      must not stalk, harass, follow, strike, threaten, assault, keep under surveillance, or block
10      movements of his wife and his children. Mr. Gonzales’ wife agrees to report any violation of
11      this condition to Pretrial Services. This order will remain into effect until the conclusion of
12      Mr. Gonzales' case.”
13   5. Mr. Gonzales’ Pretrial Officer, Kalisi Kupu, does not object to this request.
14   6. AUSA Joseph Tartakovsky does not object to this request.
15   7. Based on the foregoing, I respectfully request that the conditions of Mr. Gonzales’ release be
16      modified to remove his ankle monitor and home confinement condition. I further request that
17      Mr. Gonzales’ travel restrictions are extended to include both the Northern District and
18      Eastern Districts of California. All other conditions of Mr. Gonzales’ release shall remain the
19      same.
20

21      I declare under penalty of perjury under the laws of the United States that the foregoing is

22 true and correct.

23
     DATED: June 30, 2021                                      /s/
24                                                        ASHLEY RISER
                                                          Attorney for GABRIEL GONZALES
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 1                                        [PROPOSED] ORDER

 2 Based on the foregoing, and good cause appearing:

 3          IT IS HEREBY ORDERED that the conditions of Defendant Gabriel Gonzales’ release
 4 shall be modified as follows:

 5          Mr. Gonzales is permitted to have peaceful contact with his wife and his children. Mr.
 6 Gonzales must not stalk, harass, follow, strike, threaten, assault, keep under surveillance, or

 7 block movements of his wife and his children. Mr. Gonzales’ wife agrees to report any violation

 8 of this condition to Pretrial Services. This order will remain into effect until the conclusion of

 9 Mr. Gonzales'
         All other conditions will remain the same.
                 case.
10

11
     DATED: __________________                    ________________________________________
12
                                                  HONORABLE MAG. JUDGE DONNA M. RYU
13
                                                  United States Magistrate Court Judge
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                                                                    APPLICATION AND PROPOSED ORDER
